976 F.2d 728
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Timothy Ernest DAVIS, Defendant-Appellant.
    No. 92-6684.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  September 23, 1992
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, District Judge.  (CR-90-6-C-CR-P, CA-91-266-C-C-P)
      Timothy Ernest Davis, Appellant Pro Se.
      Harry Thomas Church, Assistant United States Attorney, Charlotte, North Carolina, for Appellee.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Timothy Ernest Davis appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.  United States v. Davis, No. CR-90-6-C-CR-P, CA-91-266-C-C-P (W.D.N.C. June 4, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We note that by failing to appeal his sentence, Davis has waived the claims presented here;  our review of the record discloses that they are not of constitutional dimension.   See United States v. Emanuel, 869 F.2d 795 (4th Cir. 1989)
      
    
    